                              UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF NORTH CAROLINA

      NATERA, INC.                                 )
                                                   )
                  Plaintiff(s),                    )
                                                   )        Case No.: 1:23-cv-629
vs.                                                )
      NEOGENOMICS                                  )
      LABORATORIES, INC.                           )
             Defendant(s).                         )


             DISCLOSURE OF CORPORATE AFFILIATIONS AND OTHER
           ENTITIES WITH A DIRECT FINANCIAL INTEREST IN LITIGATION

      PLEASE COMPLETE ONLY ONE FORM FOR EACH NON-GOVERNMENTAL
CORPORATE AND LIMITED LIABILITY PARTY. COUNSEL HAVE A CONTINUING
DUTY TO UPDATE THIS INFORMATION. PLAINTIFF OR MOVING PARTY MUST SERVE
THIS FORM ON THE DEFENDANT(S) OR RESPONDENT(S) WHEN INITIAL SERVICE IS
MADE.

NATERA, INC.                           who is Plaintiff                                  ,
(Name of Party)                                  (Plaintiff/Moving Party or Defendant)

makes the following disclosure:

1.       Is party a publicly held corporation or other publicly held entity?

                 (✔) Yes                           ( ) No

2.       Does party have any parent corporations?

                 ( ) Yes                           ( ✔ ) No

         If yes, identify all parent corporations, including grandparent and great-grandparent
         corporations:




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3.    Is 10% or more of the stock of a party owned by a publicly held corporation or other publicly held
      entity?

              ( ) Yes                           (✔) No

      If yes, identify all such owners:




4.    Is there any other publicly held corporation or other publicly held entity that has a direct financial
      interest in the outcome of the litigation?

              ( ) Yes                           ( ✔ ) No

      If yes, identify entity and nature of interest:



5.    In a case based on diversity jurisdiction, pursuant to Fed.R.Civ.P.7.1(a)(2), the following is
      a list of all members or partners of ____________________________ and their states of
      citizenship:                                 (name of LLC or LP party)


      _____________________________                     _________________________________
            (name of member or partner)                         (state of citizenship)

      _____________________________                     _________________________________
            (name of member or partner)                         (state of citizenship)

      _____________________________                     _________________________________
            (name of member or partner)                         (state of citizenship)

      ______________________________                    __________________________________
            (name of member or partner)                         (state of citizenship)

     Note: If there are additional members or partners, provide their names and states of
     citizenship on a separate page. If any of the members or partners are an LLC or LP, provide
     the names and states of citizenship of the members or partners on a separate page, using the
     same method to identify the citizenship of members or partners through any layered entities,
     traced back to corporations or individuals. See Capps v. Newmark Southern Region, LLC,
     No. 21-1196 (4th Cir. Nov. 16, 2022).

     /Andrew R. Shores/                                                 7/28/2023
            (Signature)                                                                  (Date)


MDNC (12/22)
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